              Case 3:25-mj-00466-ARS                       Document 1            Filed 06/17/25           Page 1 of 1



 AO 91 (Rev. 11/1 I) Crimina_lComplaint


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     District of North Dakota             I)
                   United States of America                          )
                                 v.                                  )
                         Charles Dalzell                             )        Case No.
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                           l)efendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the· following is true to the best of my knowledge and belief.
On or about the date(s) of                   June 15, 2025                   in the county of                Cass         in the
- - - - - - District of                    North Dakotel       , the defendant(s)violated:

             Code Section                                                       Offense Description

18 USC 875(c)                                 Interstate threats

18 USC 115(a)(1 ){B)                          Threats c19ainst a Federal Official




          This criminal complaint is based on these facts:

See attached




          0 Continued on the attached sheet


                                                                                                Complainant's signature

                                                                                           ChristopherPotts, SA, FBI
                                                                                              Printed nwne and iitle




Date~\.J~C.


City and state:    G--r-an d ~ /' ~s,. c1LO                                          Alice R. S~nechal, US Magistrate Judge
                                                                                               •Printed name and title
